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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

Rachel Johnson
                             Plaintiff,
v.                                                   Case No.: 1:14−cv−02028
                                                     Honorable Manish S. Shah
Yahoo! Inc.
                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 28, 2018:


        MINUTE entry before the Honorable Manish S. Shah: Status hearing held.
Plaintiff's motion for leave to file under seal and for excess pages [300] is granted. The
briefing schedule on the plaintiff's motion for reconsideration [302] [303] is as follows:
defendant's response is due 3/21/18; plaintiff's reply 4/11/18. No appearance on 3/17/18 is
necessary. Continued status hearing is set for 6/14/18 at 9:30 a.m. Notices mailed. (psm, )




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